Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 1 of 50 PagelD #:406

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
)
Plaintiff, }
) Civil Action No, 16-cv-11152
VS. )
)
KELLY SERVICES, INC. ) Judge Marvin E. Aspen
)
Defendant. )

PLAINTIFF’S EXHIBITS SUBMITTED IN OPPOSITION
TO THE DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

Exhibit Description
A-l Complaint
A-2 Answer to the Complaint
B Defendant’s Answers to Interrogatories

Cc IDES Hearing Transcript

D Emails

E Defendant’s Initial Rule 26a Disclosures

F Defendant’s Supplemental Rule 26a Disclosures
G Defendant’s Response to Document

Marshall J. Burt, Esq.

The Burt Law Group, Ltd.
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marshall@mjburtlaw.com
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 2 of 50 PagelD #:407

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BRENDA BROWN, )
yCivil Action No.

Plaintiff, )
Wudge
vs. )
)Magistrate Judge

KELLY SERVICES, INC., )
) JORY TRIAL DEMANDED

Defendant.
COMPLAINT
The Plaintiff, Brenda Brown, through her attorneys, hereby complaints against the
Defendant Kelly Services, Inc. as follows: |
Nature of the Action

1. The Plaintiff was employed by Kelly Services as a recruiter. After witnessing
certain discriminatory practices engaged in by Kelly Services toward African-American job
applicants, the Plaintiff complained to her manager. In response to her complaints, Kelly Services
terminated the Plaintiff. By terminating the Plaintiff in retaliation for her complaints of racial
discrimination, the Defendant violated Plaintiff's civil rights protected under Section 1981 of the
Civil Rights Act of 1866, as amended, 42 U.S.C. § 1981.

Jurisdiction and Venue

2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because
it involves a federal question under 42 U.S.C. § 1981.

3, Venue is proper in this federal court because the Defendant resides in the
Northern District of Illinois, Eastern Division and the cause of action arose here.

The Parties

4. The Plaintiff, Brenda Brown, is an African-American woman residing in Downers
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Grove, Illinois.

5. The Defendant, Kelly Services, Inc. is a Delaware corporation with a branch
office located in Romeoville, Illinois. Kelly Services is a worldwide employment agency and job
recruitment company assisting people and businesses with job placement, staffing and other
workplace solutions. In 2015, Kelly Services had annual revenues exceeded $5 billion.

Plaintiff's Employment At Kelly Services

6. On or about May 9, 2016, the Plaintiff entered into a verbal contract to work for
Kelly Services at its Romeoville branch office as a “temporary-to-hire” in-house recruiter. It was
explained to the Plaintiff by the branch manager that the “temporary to hire” in-house recruiter
title was designated as a temporary position but would soon become permanent if plaintiff
performed satisfactorily. The branch manager also represented that there was a substantial
volume of work for the recruiters and Plaintiff had the opportunity to work at both the
Romeoville and Frankfort Iinois locations which were each managed by the same branch
manager.

7. Based on Plaintiff's interest in a human resources and recruiting career and the
representations made by the Kelly Services branch manager, the Plaintiff accepted the in-house
recruiter position offered by Kelly Services. As an in-house recruiter, the Plaintiff was involved
in recruiting qualified job applicants to staff open assignments for Kelly Service clients.

8. At all times during her employment with Kelly Services, the Plaintiff performed
her job duties in a satisfactory manner to warrant continued employment.

The Discrimination Against African-American Job Applicants

9. While performing her recruitment duties at the Kelly Services Romeoville branch

office, the Plaintiff witnessed the discriminatory treatment of African-American job applicants by

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her co-worker who treated non-A frican Americans more favorably than similarly qualified
African-American job applicants.

10. The discriminatory treatment included, but was not limited to, giving non-African
American job applicants preference over similarly qualified African-American applicants to fill
available staffing assignments.

11. African-Americans were also denied job assignments on pretextual grounds
including unsupported assertions that the applicant only wanted to work summers or had suffered
previous work related mjuries.

12. Additionally, non-African-American job applicants were promptly greeted and
welcomed by Plaintiff's co-worker upon their arrival at the Romeoville branch office. The co-
worker also frequently assisted non-A frican-Americans in the completion of their paperwork,
including creating or revising resumes.

13. African-American applicants, however, were frequently ignored when entering the
Kelly Services offices. Similarly, no effort was made to assist them in the application process on
the grounds that any such assistance was against policy. Consequently, African-Americans would
be excluded from potential job assignments or placed at a substantial disadvantage in obtaining
the assignment if their paperwork was deficient, such as having incomplete or missing resumes.

14, The disparate treatment of African-American job applicants witnessed by the
Plaintiff was greatly offensive to the Plaintiff and caused her emotional distress. Accordingly, the
Plaintiff requested a meeting with her branch manager to protest the discriminatory treatment of
African-American job applicants by her co-worker at the Romeoville office.

Plaintiff’s Complaints of Discrimination and Defendant’s Retaliation

14. On or about June 20, 2016, the Plaintiff met with the branch manager of the

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Romeoville office, together with her co-workers to discuss the racial discrimination she
witnessed. Following this meeting Plaintiff was assured by the branch manager that her
complaints would be fully addressed.

16. Following the June 20" meeting, the Plaintiff's coworker began to treat the
Plaintiff in a disrespectful and hostile manner because of the Plaintiffs complaints of
discrimination made against her.

17. On or about June 27, 2016, the Plaintiff complained to her branch manager about
the hostile treatment she was receiving from her co-worker following the June 20, 2016 meeting.
In response, Plaintiff's branch manager asked plaintiff if she wanted to submit her two week
notice of resignation. Plaintiff stated she had no intention of resigning.

18. On or about June 28, 2016, the Plaintiff's branch manager informed Plaintiff that

her employment was being terminated.

19, The termination of the Plaintiff was in retaliation for her complaints of race
discrimination.
20. By terminating the Plaintiff because she complained about race discrimination, the

Defendant intentionally deprived the Plaintiff of the enjoyment of all benefits, privileges, terms
and conditions of employment associated with her contractual relationship with Defendant in
violation of 42 U.S.C. § 1981.

21. As a result of the retaliatory conduct by the Defendant Kelly Services, the Plaintiff
has suffered actual damages, including lost wages.

22. The retaliatory conduct by the Defendant Kelly Services has also caused the
Plaintiff to suffer compensatory damages, including emotional distress.

23. The retaliatory conduct by the Defendant Kelly Services was intentional because it

4.
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was done willfully and/or in complete disregard for the Plaintiff's federally protected civil rights,

Accordingly, punitive damages are warranted and justified.

Wherefore, the Plaintiff, Brenda Brown hereby requests that judgment be entered in her

favor and against the Defendant Kelly Services, Inc and to award her the following relief:

a.

i.

Declare that the acts and practices complained of herein are in violation of 42
U.S.C. § 1981;

Restrain and permanently enjoin these violations of 42 U.S.C. § 1981,

Direct the Defendants to take such affirmative action as is necessary to ensure that
the effects of these unlawful practices are eliminated and do not continue to affect
the Plaintiff's employment conditions and opportunities;

Award Plaintiff actual damages;

Reinstate the Plaintiff or if reinstatement is not feasible, to award Plaintiff front
pay,

Award Plaintiff compensatory damages and damages for her mental anguish and
humiliation;

Award Plaintiff punitive damages;

Award Plaintiff her expenses incurred in connection with this action, including
reasonable attorneys’ fees as provided by 42 U.S.C. § 1981a; and

Grant Plaintiff such other and further relief as this Court deems just and proper.

PLAINTIFF DEMANDS A JURY TRIAL ON ALL CLAIMS

BRENDA BROWN

By: /s/ Marshalll J. Burt
One of her attorneys

Marshall J. Burt, Esq.

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Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 8 of 50 PagelD #:413

 
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, Civil Action No.: 1:16-cev-11152
V. 3 Judge Marvin E. Aspen
KELLY SERVICES, INC., Magistrate Judge Sheila M. Finnegan
Defendant.

DEFENDANT’S ANSWER TO COMPLAINT,
_ RELIANCE UPON JURY DEMAND AND AFFIRMATIVE DEFENSES

NOW COMES Defendant, KELLY SERVICES, INC., by and through its attorneys,
WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP, and for its Answer to
Complaint, hereby states as follows:

Nature of the Action
1. In answer to paragraph 1, Defendant admits that Plaintiff was employed by Keily
Services as a recruiter. Defendant denies the balance of the allegations contained therein for the
reason they are untrue.
Jurisdiction and Venue

2. Defendant lacks sufficient information or knowledge upon which to admit the
allegations contained therein and therefore denies same.

3. Defendant lacks sufficient information or knowledge upon which to admit the

allegations contained therein and therefore denies same.

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The Parties

4, Defendant lacks sufficient information or knowledge upon which to admit the
allegations contained therein and therefore denies same.
5. Defendant admits the allegations contained therein.

Plaintiff's Employment At Kelly Services
6. Defendant denies the allegations contained therein for the reason they are untrue.
7. Defendant lacks sufficient information or knowledge upon which to admit the
allegations contained therein and therefore denies same.
8. Defendant denies the allegations contained therein for the reason they are untrue.

The Discrimination Against African-American Job Applicants

9. Defendant denies the allegations contained therein for the reason they are untrue.
10. Defendant denies the allegations contained therein for the reason they are untrue.
11. Defendant denies the allegations contained therein for the reason they are untrue.
12, Defendant denies the allegations contained therein for the reason they are untrue.
13. Defendant denies the allegations contained therein for the reason they are untrue.
14. Defendant denies the allegations contained therein for the reason they are untrue.

Plaintiff's Complaints of Discrimination and Defendant’s Retaliation

15. Defendant denies the allegations contained therein for the reason they are untrue.
16, Defendant denies the allegations contained therein for the reason they are untrue.
17, Defendant denies the allegations contained therein for the reason they are untrue.
18. Defendant denies the allegations contained therein for the reason they are untrue.
19, Defendant denies the allegations contained therein for the reason they are untrue.
20. Defendant denies the allegations contained therein for the reason they are untrue.

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21. Defendant denies the allegations contained therein for the reason they are untrue.
22. Defendant denies the allegations contained therein for the reason they are untrue.
23, Defendant denies the allegations contained therein for the reason they are untrue.

WHEREFORE, Defendant respectfully requests that this Honorable Court dismiss

Plaintiff's Complaint and award Defendant costs, interest and attorneys’ fees so wrongfully

incurred,

Respectfully submitted,
KELLY SERVICES, INC.

By: /s/ Angela M. Sekerka
One of their attorneys

Angela M. Sekerka

Erin K. Schreiber
WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP

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RELIANCE UPON JURY DEMAND
NOW COMES Defendant, KELLY SERVICES, INC., by and through its attorneys,
WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP, and hereby relies upon the

Demand for Jury filed by Plaintiffin the above-entitled cause.

Respectfully submitted,
KELLY SERVICES, INC.

By: /s/ Angela M. Sekerka
One of their attorneys

Angela M. Sekerka

Erin K. Schreiber

WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
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AFFIRMATIVE DEFENSES
NOW COMES Defendant, KELLY SERVICES, INC., by and through its attorneys,

POTTER, DeAGOSTINO, O'DEA & PATTERSON, and hereby submits the following as its

affirmative defenses:

24, Any and all allegations in the Complaint that were not specifically admitted are
hereby denied.
25. That Plaintiffs Complaint is barred because of release, prior Judgment, statute of

limitations, statute of frauds, and/or assignment or other disposition of the claim before the

commencement of the action.

26. That Plaintiff's Complaint fails to state a cause of action upon which relief may be
granted.

27, Without admitting Plaintiff suffered any damages, Plaintiff has failed to Mitigate —
her damages.

28. Piaintiff's claims are barred in whole or in part by waiver, estoppel, modification
and/or unclean hands.

29. Plaintiff's claims are barred in whole or in part due to her failure to exhaust

administrative remedies.

30. Defendant’s decisions regarding Plaintiff were at all times motivated by
legitimate, non-discriminatory reasons and non-retaliatory reasons which were not a pretext for

discrimination or retaliation.

31. Plaintiff cannot demonstrate that she was treated differently than similarly

situated individuals on the basis of race or any other unlawful reason.

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32. The alleged harassing behavior did not rise to the level of a hostile working
environment,
33. Defendant has a well-disseminated and consistently enforced policy against

discrimination and harassment as well as a reasonable and available procedure for receiving and
investigating alleged complaints of discrimination and harassment. To the extent that Plaintiff
unreasonably failed to use or otherwise avail herself of these policies and procedures, her claims
are barred.

34. To the extent that Plaintiff recovers any damages, Kelly Services, Inc. is entitled

to a set-off from back pay award for all amounts earned by Plaintiff subsequent to her

employment with Kelly Services, Inc.

35. The Complaint is barred, in whole or in part, by the doctrine of after-acquired
evidence.
36. Kelly Services, Inc. promptly investigated all complaints asserted by Plaintiff and

exercised reasonable care to prevent and correct unlawful harassment or retaliation.

37. Kelly Services, Inc. took prompt appropriate action in response to Plaintiff's
complaints.

38. Plaintiff failed to provide timely notice to Defendant regarding the alleged
behavior.

39, Defendant did not take adverse action against Plaintiff.

40. All of Kelly Services, Inc.’s actions and communications were made in good faith

and without malice or reckless indifference or a desire to harm Plaintiff.
Al, All actions regarding Plaintiff's employment were unrelated to Plaintiff's alleged

protected activity and were not taken in retaliation for any asserted protected activity.

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42, Kelly Services, Inc. acted, at all relevant times, without an intent to discriminate
or retaliate and without an intent to engage in any unlawful employment practices. Kelly
Services, Inc. at all times made a good faith attempt to comply with Federal laws.

43, Plaintiff is not entitled to punitive damages because Defendant did not act with
malice or reckless indifference to Plaintiffs federally protected rights, and did not authorize,
ratify, or have any knowledge of the unfitness, if any, of the employee who allegedly committed
such acts.

44, If Plaintiff suffered any damages, which Kelly Services, Inc. disputes, such

damages were proximately and legally caused by the misconduct and fault of Plaintiff or parties

other than Kelly Services, Inc.

4§. Piainiiff has executed an arbitration agreement waiving the jurisdiction of this
court.
46. Defendant reserves the right to amend these affirmative defenses in accordance

with federal procedural law.

Dates this 1“ day of February, 2017.

Respectfully submitted,
KELLY SERVICES, INC,

By: /s/ Angela M. Sekerka
One of their attorneys

Angela M. Sekerka

Erin K. Schreiber
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that on February 1, 2017, she caused the
foregoing pleading to be filed with the court by electronic filing protocols using the CM/ECF

system, and that a copy of the same will therefore be electronically served upon all attorneys of
record registered with the court’s CM/ECF system.

/s/ Angela M. Sekerka

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Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 17 of 50 PagelD #:422

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 18 of 50 PagelD #:423

 

POTTER, DeAGOSTINO, O'DEA & PATTERSON

 

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, , Civil Action No.: 1:16-cv-11152
Vv. Judge Marvin E. Aspen
KELLY SERVICES, INC, Magistrate Judge Sheila M. Finnegan
Defendant.

DEFENDANT KELLY SERVICES, INC.’S ANSWERS TO PLAINTIFF'S
FIRST SET OF INTERROGATORIES DIRECTED TO THE DEFENDANT
KELLY SERVICES, INC.

COMES NOW Defendant KELLY SERVICES, INC., by and through undersigned
counsel, and submits the following as its Answer to Plaintiff’ s First Set of interrogatories,
RESERVATION OF RIGHTS WITH REGARD TO ANSWERS

A. The following responses represent the best information ascertained by KELLY and
are based upon information obtained from records, files and individuals within its
possession, custody, control or employ. KELLY reserves the right at any time to revise,
correct, add to or clarify any of the responses provided herein.

B. The responses provided herein are subject to the right of KELLY to object on any
ground, at any time, to a demand for further response to these or other interrogatories, or
other discovery procedures involving or relating to the subject matter of the interrogatories

herein.

Cc, By responding to these discovery requests, KELLY does not concede the relevancy
or admissibility of the information provided.

GENERAL OBJECTIONS
A. The following objections and conditions qualify each and every response which has

an objection provided by KELLY and are incorporated by referenced into each and
every one of those responses, as if set forth fully therein.

B. KELLY objects to, and does not agree to be bound by, the definitions contained in
Plaintiff's First Interrogatories to the extent they exceed the bounds permitted by the

Federal Rules of Civil Procedure.
~~

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 19 of 50 PagelD #:424

 

POTTER, DeACOSTINO, O'DEA & PATTERSON

 

Cc. KELLY objects to each separate interrogatory propounded by Plaintiff to the extent it

seeks information or production of documents which is protected from discovery and
privileged for the reason that it: (1) is subject to the attorney-client privilege; (2) is
covered by the “work product” immunity; (3) was generated in anticipation of
litigation or for trial by KELLY or its representatives; (4) relates to the identity or
opinions of consulting experts who have been retained or employed in anticipation of
litigation, are not expected to be called as witnesses at trial and whose mental
impressions and opinion will not be reviewed by a testifying expert; (5) is subject to a
protective or confidentiality agreement or order; and/or (6) is otherwise privileged or
beyond the scope of discovery under applicable rules and laws. KELLY will not
provide privileged information, and KELLY’s responses should be read accordingly.

D. KELLY objects to the requested information that is confidential or proprietary in

nature, as well as any other business information not customarily disclosed to the
public or to trade competitors. To the extent that any information regarding any of
KELLY’s responses specifies documents which are confidential or proprietary in
nature, KELLY will provide such documents, if relevant, in accordance with a

Protective Order.

E, KELLY reserves the right to answer a discovery request by specifying the business

records from which the answer may be derived or ascertained where the answer to an
interrogatory may be derived or ascertained from KELLY’s business records, and
where the burden of deriving or ascertaining the answer is substantially the same for
Plaintiff as it is for Defendant. KELLY will afford Plaintiff a reasonable opportunity
to examine, audit, or inspect such records and to make copies, compilations,

abstracts, or summaries of the same.

F. Subject to the foregoing objections, which are incorporated into each of the following

responses, KELLY responds to Plaintiff's discovery requests as follows:
INTERROGATORIES

INTERROGATORY NO. i

Identify (per Definition D above) all persons answering or participating in answering

the following interrogatories and foreach person listed, state by number and subpart each

interrogatory answered by the person identified.

ANSWER: Jennifer Lammers, Senior Branch Manager, c/o counsel for Defendant
Kelly.

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 20 of 50 PagelD #:425

INTERROGATORY NO. 2
Identify (per Definition D above) all persons working in the Romeoville Location of
Keily Services from January 1,2015 up to the present.

ANSWER: Jennifer Lammers, Jennifer Conyers, Nancy Spisak, Justin Pedersen,
Ann Wilson, Talie Pastiak, Miranda Benavidez, and Erica Pineda.

INTERROGATORY NO. 3

With respect to the hiring of the Plaintiff at the Romeoville Location in May 2016,

 

state:
a. the purpose for the assignment and thejob title given to Plaintiff:
- b. the reason why the assignment was available;
2
E c. the reason why the Plaintiff was selected for the assignment and the person
=
= making the selection decision;
3 d. the Plaintiff s supervisors and managers during the assignment;
g e. the Plaintiff sjob duties;
2 f. the identity of all persons (per Definition C above) having the samejob
a
2 title and duties as the Plaintiff from January 1,2015 up to the present; and
g. the identity of all documents (per Definition C above) concerning your

answer.

ANSWER: Defendant objects to this Interrogatory for the reason that it is vague and
overly broad in temporal scope, and not likely to lead to the discovery of admissible

evidence. Without waiving said objection:

The purpose for the assignment and job title given to Plaintiff was to fill

job orders and recruit empleyees.
b. The assignment was available due to business needs.
Plaintiff was selected for the assignment because Plaintiff was qualified

for the position.
d. Jennifer Lammers was Plaintiff's supervisor/manager during the

assignment.
&, Please see KDP 144-146.

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Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 21 of 50 PagelD #:426

 

POTTER, DeAGOSTING, O'DEA & PATTERSON

 

f. Nancy Spisak, Jennifer Conyers, Talie Pastiak, Miranda Benavidez and

Erica Pineda.
g. Please see KDP 1-87 and 144-146.

INTERROGATORY NO. 4

Identify all facts supporting the Answer to Paragraph 8 of the Complaint wherein
Defendant denied that “at all times during her employment with Kelly Services, the
Plaintiff performed herjob duties in a satisfactory manner to warrant continued

employment" and identify all documents and communications concerning Plaintiff s
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alleged unsatisfactory job performance.

ANSWER: Defendant Kelly’s Answer was required to be filed prior to the completion
of Kelly’s investigation of Plaintiff's claims. As such, Kelly’s Answer was filed to
preserve all defenses available. As of the present date, Kelly is not aware of any issues

with Plaintiff's job performance.
INTERROGATORY NO, 5

With respect to the decision to end the Plaintiff's job assignment at Romeoville

Location on or about July 1, 2016, state:

a. the identity of all persons participating in the decision to end the
Plaintiff s assignment;

b. the identity of all communications relating to the decision to end the
Plaintiff's assignment including the identity of all participants in the
communication, the date of the communication and the subject matter of
each communication; |

c. the identity of all other persons having the samejob title as Plaintiff who
had their job assignments terminated by Defendant for the same or similar

reasons that the Plaintiff's assignment was terminated from January 1,2015
oA

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 22 of 50 PagelD #:427

up to the present; and

d. the identity of all documents that refer or relate to your answer.

ANSWER: Defendant objects to this interrogatory for the reason that it is vague and
overly broad in temporal scope, and not likely to lead to the discovery of admissible
evidence. Defendant further objects to this Interrogatory to the extent it seeks
information that is protected by the attorney-client privilege and/or attorney/client
work product privileges. Without waiving said objection:

a, Brad Beckner, Regional Vice President, and Tammy Hink, Senior
Area Manager, made the decision to end Plaintiff’s job assignment at

the Romeoville Branch.
b. Tammy Hink instructed Jennifer Lammers via telephone call to end

Plaintiff's assignment due to a workforce reduction in the Chicago

market.
c. Jason Dehn and Bryan Ramirez.
d. Not applicabie.

INTERROGATORY NO. 6

With the exception of the Plaintiff, has any employee orjob applicant made any

 

formal or informal complaint of discrimination against Defendant involving the

Romeoville Location from January 1,2012 up to the present? If your answer is in the

affirmative, state:

POTTER, DeAGOSTINO, O'DEA & PAFTERSON

a. the identity of the employee making the complaint;

b. the subject matter of the complaint;

Cc. the resolution of the complaint; and

d. the identity of all documents concerning the complaint.

ANSWER: No.

 

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 23 of 50 PagelD #:428

 

POTTER, DeACOSTINO, O'DEA & PATTERSON

 

Dated: April 17, 2017

Respectfully submitted,

FEHR, DeAGO
pus

STEVEN M. POTTER

RICK J. PATTERSON

Attorneys for Defendant Kelly Services, inc.

2701 Cambridge Court, Suite 223

Auburn Hills, Michigan 48326

t: (248) 377-1700/%: (248) 377-0051

spotter(@potterlaw.com

ripatterson/@potterlaw.com

   

STINO, O’DEA & PATTERSON

 
    

CERTIFICATE OF SERVICE

i hereby certify that this 17" day of April, 2017, I served Defendant Kelly Services, Inc.’s Answers to Plaintiff's
First Set of Interrogatories Directed to Defendant Kelly Services, Inc. via E-mail to the following:

Marshall J. Burt, Esq.
The Burt Law Group, Ltd.

77 W. Washington, Ste 1300

Chicago, IL 60602
{312} 419-1999

marshal@mijburtlaw.com

 

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 24 of 50 PagelD #:429

SWORN SIGNATURE
STATE OF ILLINOIS )

) ss.
COUNTY OF WILL )

1, Jennifer Lammers, declare that E am
make this verification on its behalf: |
am informed and believe, and on that

presently authorized by Kelly Services, Inc., to
have read the foregoing responses to interrogatories. |
ground allege, that the matters stated in it are true.

Jennifer Lammers

Subscribed and sworn to before me this “i ST day of NV \a 4 .20 17".
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My commission expires: }~L¢- RORK?

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 25 of 50 PagelD #:430

EXHIBIT

C
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 26 of 50 PagelD #:431

STATE OF ILLINOIS
DEPARTMENT OF EMPLOYMENT SECURITY
APPEALS DIVISTON
BENEFIT APPEALS SUBDIVISION

BRENDA BROWN

CLAIMANT HEARING TRANSCRIPT

DOCKET NO. 1629170

KELLY SERVICES INC.
EMPLOYER

HEARING DATE: September 9, 2016
TIME: 10:00 a.m.

LOCATION: Chicago, Illinois

REFEREE: Mary Lou 4Zurawski

PARTICIPANTS
Claimant: Brenda Brown

Employer: Nancy Spisak, Employer Witness
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Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 27 of 50 PagelD #:432

PAGE 2
Proceedings
CL: Hello?
REFEREE: Helio, Ms. Brown?
Ch: Yes.
R: Mary Lou Zurawski...
CL: This is Bren...
R: .« with Unemployment. Are you ready for the hearing?
Ch: Yes, ma'am.
R: Alright. Please hold while I call the Employer.
(PERIOD OF SILENCE ON RECORDING)
R: I‘il first ask if you consent to the hearing being recorded
today. Ms. Brown?
Cl: Yes.
R: Ms. Spisak?
SPISAK: Yes.
Ri Tt’ll read some things into the record and then explain how the
hearing will be conducted. This is a telephone hearing before the

Illinois Department of Employment Security Appeals Division in
Docket No. 1629170, being held on September 9, 2016 at 10:00 a.m.
before Administrative Law Judge Mary Lou 4Zurawski at Chicago,
Tilinois. This hearing is being recorded. This is a legal
proceeding. All testimony is under oath. Please raise your right
hands. Do you solemnly swear to tell the truth, the whole truth and
nothing but the truth? Ms. Brown?

Ci; Yes.

R: Ms. Spisak?

SPISAK: Yes.

 
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Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 28 of 50 PagelD #:433
PAGE 12

R: Well, matam, Tf don‘t.. don’t need that for purposes today. You

send me the one from...

Ci: Okay.
R: .« the Job Link and I broke it down week by week. That's fine.
Ch: Yes.

R: Okay. But I’m just saying in the future what you want to do is
use your. a wor... a work search form or use the Illinois Job Gink
form, but write on it this week, that week, okay?

Cl: Okay, I’il do that.
R: And I do. I do have the work search that you submitted and it’s

very extensive. Alright. Ms. Spisak, any questions?

SPISAK: No questions.

R: Ms. Spisak, was she digcharged from her job there?

SPISAK: Yes, she was.

R: For what reason?

SPISAK: Uh, lack of work.

CL: Mmm.

R: back of work or some other reason?

SPISAK: Um, it was due to budget. Lack of work. We had to, uh,
let her go because of that in this.. the.. for this position, but we
did have other work available for her.

R: What other work did you have?

SPISAK: Uh, we did leave her a message for a company in Aurora.

R: When?

SPISAK: The date that we left her a message was... uh, just give me

one moment. July 13°,

R: Okay, I’m taiking about on 7/1 was there work available?
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Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 29 of 50 PagelD #:434
PAGE 13

SPISAK: Let me check here.

R: When you let her go was there another job available?

SPISAK: That particular day, no.

R: Okay. And did she make a complaint to you about discrimination?

SPISAK: She did.

R: When?

SPISAK: Uh, I’d have to get.. I’m sorry, she did not make a
complaint to me, she reported it to our manager. And she is
correct, we did have a meeting. I don‘t know what the exact date

was, though.
R: How long before July 1°?

SPISAK:;: Um. I have to. I’m sorry, I thought you said the date was
between July 374 and July 30°°, so E have to get that date. It was
probably about sometime in late June... mid- to late June that that
meeting took place.

R: Ms, Brown, do you know what day the meeting was?

CL: Yes, Your Honor. (inaudible)

R: While she’s looking for that, Ms. Spisak, when you let her go
what did you tell her?

SPISAK: I did not tell her, my manager did.

CL: (inaudible)

SPISAK: So I wasn’t involved in that meeting.

R: No, I’m sorry, when she was let go you didn't... you didn’t tell
her she was let go?

SPISAK: =I did not. Our...

R: Oh,

SPISAK: Our manager did.
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 30 of 50 PagelD #:435

PAGE

CERTIFICATION

I hereby certify that I have transcribed a recording
of the above proceedings held before Hearings Referee,
Mary lou 4Zurawski, on the 9th day of September 2016,
pursuant to notice, at the office of the Department of

Employment Security, Appeals Division at Chicago, Illinois.

 

 

Sheila A. Werner

NOTICE: SECTION 1900 OF THE UNEMPLOYMENT INSURANCE ACT READS, IN
PART AS FOLLOWS: "“ENFORMATION OBTATNED FROM ANY INDIVIDUAL OR
EMPLOYING UNIT PURSUANT TO THE ADMINISTRATION OF THIS ACT SHALL BE
CONFIDENTIAL AND SHALL NOT BE PUBLISHED OR BE OPEN fO PUBLIC
INSPECTION, NOR BE ADMISSIBLE IN EVIDENCE OF ANY ACTION oR
PROCEEDING OTHER THAN ONE ARISING OUT OF THE PROVISIONS oF tTHTS

ACT.
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 31 of 50 PagelD #:436

EXHIBIT

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 32 of 50 PagelD #:437

From: Brenda Brown BREBO23@kellyservices.com
Subject: Emaii to Jennifer Lammers regarding current position
Date: Jun 24, 2016, 4:54:03 PM
Jo: brencabrown81@gmail.com

 

 

From: Brenda Brown

Sent: Friday, June 24, 2076 11:41 AM

To: Jennifer Lammers <|. AMMEJL @kellyservices com>
Subject: RE: Frankfort

Yes, i will.
Thanks,

Brenda

 

From: Jennifer Lammers
Sent: Friday, June 24, 2016 11-16 AM

To: Brenda Brown <BREBO23 @kellyservices.com>
Subject: RE: Frankfort

Good Morning.

Could you please give me a call to discuss this? [rm in Romeoville all day.

Thank you,
Jennifer Lammers | Kally Services i Sr. Branch Manager

Office: 845.407.0648 | Faxc815.407,0766
4608 North Weber Ro. Romeoville, i 60445

KELTY

From: Brenda Brown

Sent: Friday, June 24, 2016 10:35 AM
To: Jennifer Lammers <LAMME.IL @ kellyservices com>
Subject: RE: Frankfort

Mobilize your job sourch.
kolfysarvices.cem/kpliyjobsepp

 

 

Brown000022
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 33 of 50 PagelD #:438

Good morning Jennifer,

f thought that | would be able to chat with you for a few minutes, but it looks like { am not
back in Romeoville untii Tuesday. |! apologize in advance because | know this is probably
not the best time, due to everything going on, but } did tell you that | would let you know
how | would like to move forward. | am NOT giving any type of notice because | am NOT
quitting. i would really feel more comfortable in another role, like administrative, because
things just aren’t working out the way that I planned and itis affecting the way | interact
with my daughter. | know that the next few weeks people are on vacation and it will be
crazy around Romeoville/Franfort. | am asking to be considered for admin roles once
everyone's schedule is back stable so that there is enough people in the office during
other’s absence. If Kelly is unable to find a position for me then Ll ask that you understand
that | start to seek employment elsewhere. | am NOT QUITTING this position, | AM NOT
GIVING A TWO WEEKS NOTICE, NEITHER am}! interviewing anywhere else.

Please let me know if you wauld like to discuss this further.
Respectfully,

Brenda

err anny pene Ae de tee ord iene ee

 

From: Brenda Brown
Sent: Monday, June 20, 2016 10:05 AM

To: Jennifer Lammers <LAMMEJL @ kellyservices com>
Subject: RE: Frankfort
Ok. | will let you know by the EOD,

Thank you very much for listening and | know that things will work out one way ar
another!

Brenda

 

From: Jennifer Larnmers ~
Sent: Monday, June 20, 2016 9:41 AM

To: Brenda Brown <BREBO23 @kellyservices.com-
Subject: Frankfort

Brenda-

 

BrownG00023

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 34 of 50 PagelD #:439

Let me know if you think Frankfort would be good 1-2 days a week to get extra training. |
think that’s a great idea when we don’t have peopie on vacation, etc.

| appreciate you talking about your concerns and we’ll get them all worked out!!!

Jennifer Lammers | Kelly Services I Sr. Branch Manager
E-mail jennifer lammners@kellyservices, com

Office: 815.407.0618 | Pax:815.407,0756

450B North Weber Rd, Romeoville, IL 60446

Mobilize your job search.
kellyservices.com/ke}lyjobsa pp

 

 

Brown000024
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 35 of 50 PagelD #:440

EXHIBIT

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POTTER, DeAGOSTINO, O'DEA & PATTERSON

 

Gase: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 36 of 50 PagelD #:441

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, Civil Action No.: 1:16-ev-11152
Vv. Judge Marvin E. Aspen
KELLY SERVICES, INC, Magistrate Judge Sheila M. Finnegan
Defendant.

DEFENDANT, KELLY SERVICES, INC’S

RULE 26(a)(1) INITIAL DISCLOSURES
NOW COMES Defendant, KELLY SERVICES, INC. (“Kelly”), by and through its
attorneys, POTTER, DeAGOSTINO, O’DEA & PATTERSON, and hereby submits the
following disclosures pursuant to Fed.R.Civ.P. 26(a)(1). Defendant Kelly will supplement these

disclosures in discovery responses.

Rule 26(a)\(1 (A

Defendant Kelly identifies the following witnesses and to the extent known, the address
and telephone number of each witness, that is likely to have discoverable information.

1, Brenda Brown, Plaintiff, care of Marshall J. Burt, Esq., 77 W. Washington,
Suite 1300, Chicago, Illinois 60602.

2, Any and all representatives, agents, record custodians, employees and former
employees of Kelly Services, Inc., care of Steven M. Potter, Esq., 2701 Cambridge Court,
Suite 223, Auburn Hills, Michigan 48326, that have knowledge regarding Plaintiff s
employment with Kelly Services, Inc., including but not limited to:

a. Jennifer Lammers
b, Nancy Spisak
c. Michelle Wedig

 
G@ase: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 37 of 50 PagelD #:442

d, Beth McGowan
e. lyma Echeverria
f. Tom Rusnak
3. Any and all witnesses identified by Plaintiff.

Defendant Kelly reserves the right to amend this disclosure at any time prior to trial.

Rule 26(a}(1)(A Vii

Defendant Kelly identifies the following descriptions of all documents, data
compilations and tangible things in the possession, custody or control of Defendant

which are relevant to disputed facts alleged with particularity in the pleadings.

 

> 1. Any and all documents contained in personnel file, including but not limited
to:
5 a. Brenda Brown’s Employment Application(s)
g b. eRegistration Form .
Z c. New Health Insurance Marketplace Coverage Options Form
g d. Background Screening Disclosure for Investigative Consumer
Z Reports
5 e. Background Screening Disclosure

f. Background Screening Authorization

g. Release and Consent for Drug Screening

h. Dispute Resolution and Mutual Agreement to Binding

Arbitration
i. Acknowledgment of Privacy Statement

(W-4) Employee’s Withholding Allowance Certificate

k. Criminal Behavior Disclosure

2. Any and all KSN screenshots regarding Brenda Brown

 

 
 

POTTER, DeAGOSTING, O'DEA & PATTERSON

 

Giase: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 38 of 50 PagelD #:443

Any and all time cards regarding Brenda Brown

Any and all payroll activity reports regarding Brenda Brown
Direct deposit slips regarding Brenda Brown

Kelly Services, Inc. Employee Handbook

Kelly Services, Inc. Anti-Harassment Policy

Kelly Services, Inc. Family and Medical Leave Act Policy

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Kelly Services, Inc. Equal Employment Opportunity and Affirmative Action
Policy

10. EEOC Notice of Charge of Discrimination dated September 30, 2016

il. _ Any and all non-privileged correspondence regarding Brenda Brown

12, Any and all documents identified by Plaintiff
Defendant Kelly reserves the right to amend the list of exhibits and other documents and

tangible evidence at any time before trial.

Rule 26(a)(1)(A iii)
A computation of any category of damages claimed by the disclosing party, making
available for inspection and copying as under Rule 34 the documents or other
evidentiary material on which such computation is based.

Not applicable.
Rule 26(a)(1)(A}iv

For inspection and copying as under Rule 34 any insurance agreement under which any
person carrying on an insurance business may be liable to satisfy all or part of a
judgment which may be entered in the action or to indemnify or reimburse for
payments made to satisfy the judgment.

None.

 
 

POTTER, DeAGOSTINO, O'DEA & PATTERSON

 

Qase: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 39 of 50 PagelD #:444

Rule 26(a}(2\(A)-(D

Disclosure of Expert Testimony.

No experts have been retained at this time. This disclosure may be supplemented at a

later date.

Respectfully submj

POTTER, DeAGOSTINO, O’DEA & PATTERSON
STEVEN M. POTTER

RICK J. PATTERSON

Attorneys for Defendant Kelly Services, Inc.

2701 Cambridge Court, Suite 223

Dated: March 13, 2017 Auburn Hills, Michigan 48326
t: (248) 377-1700/f: (248) 377-0051

spotter(@potterlaw.com
ripatterson(@potterlaw.com

CERTIFICATE OF SERVICE
I hereby certify that this13" day of March, 2017, I served Defendant
Kelly Services, Inc.’s Fed. R. Civ. P. 26(a)(1) Initial Disclosures via
E-maii and USPS first class mail to the following:

The Burt Law Group, Ltd.

Marshall J. Burt, Esq,

77 W. Washington, Ste 1300

Chicago, IL 60602

(312) 419-1999

marshall@mijburtlaw.com Lavia R. Sizemore

Attorneys for Plaintiff

 

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 40 of 50 PagelD #:445

EXHIBIT

F
 

POTTER, DeAGOSTINO, O'DEA & PATTERSON

 

C#se: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 41 of 50 PagelD #:446

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, Civil Action No.: 1:16-cv-11152
Vv. Judge Marvin E. Aspen
KELLY SERVICES, INC, Magistrate Judge Sheila M. Finnegan
Defendant.

DEFENDANT, KELLY SERVICES, INC.’S SUPPLEMENTAL
RULE 26(a)(1) INITIAL DISCLOSURES REGARDING WITNESSES

NOW COMES Defendant, KELLY SERVICES, INC. (“Kelly”), by and through its
attorneys, POTTER, DeAGOSTINO, O’DEA & PATTERSON, and hereby submits the

following disclosures pursuant to Fed.R.Civ.P. 26(a)(1). Defendant Kelly will supplement these

disclosures in discovery responses.

Rule 26(@ay1\(ANd

Defendant Kelly identifies the following witnesses and to the extent known, the
address and telephone number of each witness, that is likely to have discoverable
information.

1. Brenda Brown, Plaintiff, c/o Marshall J. Burt, Esq., 77 W. Washington, Suite
1300, Chicago, Illinois 60602. Defendant believes Plaintiff has knowledge regarding her
employment with Kelly Services, Inc., and the allegations contained in her Complaint.

2. Any and all representatives, agents, record custodians, employees and former
employees of Kelly Services, Inc., care of Steven M. Potter, Esq., 2701 Cambridge Court, Suite
223, Auburn Hills, Michigan 48326, that have knowledge regarding Plaintiff's employment

with Kelly Services, Inc., including but not limited to:

 
 

POTTER, DeAGOSTINO, O'DEA & PATTERSON

 

Case. 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 42 of 50 PagelD #:447

Jennifer Lammers, Senior Branch Manager/ Plaintiffs Supervisor.
Defendant believes Lammers has knowledge regarding the policies and
practices of Kelly Services, Inc., Plaintiff's employment and In-House
Temporary assignment at Kelly’s Romeoville Branch, and subsequent
offers of assignments.

Nancy Spisak, Staffing Supervisor/ Recruiter. Defendant believes Spisak
has information regarding the duties of a Staffing Supervisor/Recruiter.
Jennifer Conyers, Staffing Supervisor/ Recruiter. Defendant believes
Spisak has information regarding the duties of a Staffing
Supervisor/Recruiter.

Beth McGowan, Staffing Supervisor. Defendant believes McGowan has
information regarding the duties of a Staffing Supervisor and Plaintiffs
communication with Kelly regarding her availability.

Irma Echeverria, Staffing Supervisor. Defendant believes Echeverria has
information regarding the duties of a Staffing Supervisor and offering
Plaintiff assignments after Plaintiffs assignment at the Romeoville
Branch ended.

Tom Rusnak, Staffing Supervisor. Defendant believes Rusnak has
information regarding Plaintiff's communication with Kelly regarding
her availability.

Brad Beckner, Vice President Territory. Defendant believes Beckner has
information regarding the reason for ending Plaintiff's assignment as an
In-House Temporary Recruiter at the Romeoville Branch.

Tammy Hink, Vice President Territory. Defendant believes Hink has
information regarding the reason for ending Plaintiff's assignment as an

In-House Temporary Recruiter at the Romeoville Branch.

 
 

POTTER, DeACOSTINO, O'DEA & PATTERSON

 

Case: 1:16-cv-11152 Document #:.56 Filed: 10/20/17 Page 43 of 50 PagelD #:448

Kevin Zarlengo, Branch Manager. Defendant believes Zarlengo has
information regarding offering Plaintiff assignments after Plaintiff's
assignment at the Romeoville Branch ended.

Jason Dehn. Defendant believes Dehn has information regarding his in-
house temporary assignment ending approximately July 2016 due to
legitimate business reasons.

Bryan Ramirez. Defendant believes Ramirez has information regarding
his in-house temporary assignment ending approximately July 2016 due

to legitimate business reasons.

3. Any and all witnesses identified by Plaintiff.

Defendant Kelly reserves the right to amend this disclosure at any time prior to trial.

Dated: May 17, 2017

A, ve

POTTER, DeAGOSTINO, O’DEA & PATTERSON
STEVEN M. POTTER (Admitted Pro Hac Vice)
RICK J. PATTERSON (Admitted Pro Hac Vice)
2701 Cambridge Court, Suite 223

Auburn Hills, Michigan 48326

t: (248) 377-1700/f (248) 377-0051
spotter@potterlaw.com

ripatterson(@potterlaw.com

-and-

s/ANGELA M. SEKERKA

WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
Attorney for Defendant

55 West Monroe Sireet - Suite 38006

Chicago, IL 60603-5001

312.821.6171 (Direct)

312.704.0550 (Main)

312.704.1522 (Fax)

angela. sekerka@wilsonelser.com

 
 

 

POTTER, DeACOSTINO, O'DEA & PATTERSON

 

Case. 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 44 of 50 PagelD #:449

CERTIFICATE OF SERVICE
I hereby certify that this 18" day of May, 2017, I served Defendant
Kelly Services, Inc.’s Supplemental Fed. R. Civ. P. 26(a){1) Initial
Disclosures as to witnesses via e-mail only to the following:

The Burt Law Group, Ltd.
Marshall J. Burt, Esq.

77 W. Washington, Ste 1300
Chicago, IL 60602 (422—
(312) 419-1999 :

 

 

marshall@mjburtlaw.com Rick J “Batterson
Attorney for Plaintiff . Atiorney for Def. Kelly Services, Inc.

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 45 of 50 PagelD #:450

EXHIBIT
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 46 of 50 PagelD #:451

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, 3 Civil Action No.: 1:16-cv-11152
Vv. } Judge Marvin E. Aspen
KELLY SERVICES, INC, Magistrate Judge Sheila M. Finnegan
Defendant.

DEFENDANT KELLY SERVICES, INC.’S RESPONSES TO PLAINTIFF'S
FIRST REQUEST FOR THE PRODUCTION OF DOCUMENTS DIRECTED
TO THE DEFENDANT KELLY SERVICES, INC.

 

COMES NOW Defendant KELLY SERVICES, INC., by and through undersigned

counsel, and submits the following as its Response to Plaintiff's Request for Production of

Documents.

RESERVATION OF RIGHTS WITH REGARD TO RESPONSES

A. The following responses represent the best information ascertained by KELLY and are
based upon information obtained from records, files and individuals within its possession,
custody, control or employ. KELLY reserves the right at any time to revise, correct, add to or

clarify any of the responses provided herein.

POTTER, DeAGOSTINO, O'DEA & PATTERSON

B. The responses provided herein are subject to the right of KELLY to object on any
' ground, at any time, to a demand for further response to these or other interrogatories, or other
discovery procedures involving or relating to the subject matter of the interrogatories herein.

C. By responding to these discovery requests, KELLY does not concede the relevancy or
admissibility of the information provided.

GENERAL OBJECTIONS

A. The following objections and conditions qualify each and every response which has an
objection provided by KELLY and are incorporated by referenced into each and every

one of those responses, as if set forth fully therein.

B. KELLY objects to, and does not agree to be bound by, the definitions contained in
~4- ;

 

 

 
Case:

 

POTTER, DeAGOSTINO, GDEA & PATTERSON

 

1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 47 of 50 PagelD #:452

Romeoville Location, including meeting notes and any investigation notes and reports.

ANSWER: Defendant objects to the term “treatment” for the reason that it is
vague and ambiguous. Without waiving said objection, please see attached KDP

122,

21, All documents reflecting the race of job applicants seeking job placernent
services at the Romeoville Location on a monthly basis (or other period next closest to a
monthly basis maintained by the Defendant) from January 1,2015 up to the present.
ANSWER: Defendant objects to this Request for the reason that it is overly broad in

temporal scope. Defendant further objects to the form of this Request for the reason that
it presumes an applicant’s race is identified during the application process. Without

waving said objection, no such documents exist.

22, All documents reflecting the placement of candidates by race seeking job
placement services at the Romeoville Location on a monthly basis (or other period next

closest to a monthly basis maintained by the Defendant) from January 1, 2015 up to the

present.

ANSWER: Defendant objects to this Request for the reason that it is overly braad in
temporal scope, Defendant further objects to the form of this Request for the reason that
it presumes an applicant’s race is identified during the application process. Defendant
further objects for the reason that this Request seeks information regarding persons
whom are not a party to this litigation. Without waving said objection, no such

documents exist.

23. All documents concerning the reason(s) for ending the Plaintiff's assignment

at the Romeoville Location.

ANSWER: Defendant is not aware of any responsive documents. Te the extent
responsive documents are located, Defendant will supplement its Response.

 

24, All documents reflecting the reasons for terminating any other employee at the
Kelly Romeoville Location from January 1,2015 up to the present.

~B-

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 48 of 50 PagelD #:453

 

POTTER, DeAGOSTINO, O'DEA & PATTERSON

 

ANSWER: No responsive documents exist.

25, All documents concerning the termination of assignment of any employee

employed by Defendant holding the samejob title as the Plaintiff from January 1,2015 up to

the present.

ANSWER: Defendant objects to this Request for the reason that it fs vague, overly
broad, and unduly burdensome, and unlikely to lead to the discovery of admissible
evidence. Defendant further objects te this Request for the reason that it seeks
information regarding Kelly employees that are not a party to this litigation. Without
waiving said objections, no responsive documents exist regarding recruiters placed at

the Kelly Romeoville location.

26, Documents concerning disciplinary action, including verbal or written
warnings, performance improvement plans, suspensions with or without pay and terminations
taken against any employee working at the Romeoville Location where the plaintiff was
assigned from January 1, 2015 up to the present.

ANSWER: No responsive documents exist.

27. All documents reflecting the hiring of any person having the same job title
as the Plaintiff from July 1,2016 up to the present.

ANSWER: No responsive documents exist.

28. All documents concerning communications with the Plaintiff offering her
assignments following the end of her assignment at the Romeoville location.
ANSWER: Please see attached KDP 68-81 and 157-158.

29, All documents concerning the Plaintiffs refusal to accept any assignment
following the end of her assignment at the Romeoville location,

ANSWER: Please see attached KDP 73-74 and 157-158.

~7-

 
Case

 

 

POTTER, DeACOSTING, ODRA & PATTERSON

 

 

 

 

1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 49 of 50 PagelD #:454

Marshall J. Burt, Esq.
The Burt Law Group, Ltd,
77 W. Washington, Ste 1300
Chicago, IL 60602 ie O
(312) 419.1999 ie CAN

a

marshall@mjburtlaw.com ih R. Sizemore

 

 

 

 

 

 

 

 
Case: 1:16-cv-11152 Document #: 56 Filed: 10/20/17 Page 50 of 50 PagelD #:455

CERTIFICATE OF SERVICE

[hereby certify that on October 20, 2017, I electronically filed the foregoing document with the
Clerk of Court using the CM/ECF system which will send notification of this filing to the
following attorneys of record:

Steven Potter

Rick Patterson

Potter, DeAgostino, O’ Dea & Patterson
2701 Cambridge Court #223

Auburn Hills, MI 48326

Angela McManus Sekerka
Erin Kathleen Schreiber
Wilson, Elser

55 W. Monroe St., Ste 3800
Chicago, IL 60603

/s/ Marshall J. Burt
